                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                     DOCKET NO. 3:07CR119-FDW


UNITED STATES OF AMERICA,                         )
                                                  )
                        Plaintiff,                )
                                                  )
                v.                                )         FINAL ORDER AND JUDGMENT
                                                  )           CONFIRMING FORFEITURE
(4) ALFREDO SUSI,                                 )
                                                  )
                        Defendant.                )
                                                  )

        On November 25, 2008, this Court entered a Final Order of Forfeiture after a jury returned

a verdict finding Defendant guilty of fraud and conspiracy as charged in Counts One, Four through

Seven and Eleven through Twenty-four of the Indictment. At trial, the jury returned a special verdict

finding that the Defendant had derived $1,885,359.00 from the offenses for which he had been

convicted. The November 25, 2008 Final Order of Forfeiture constituted a $1,885,359.00 money

judgment. On December 15, 2008, this Court entered a Preliminary Order of Forfeiture (Substitute

Property). The Court ordered the forfeiture of approximately $1,005,514.82 in US Currency in partial

satisfaction of the money judgment..

        From February 6, 2009 through March 7, 2009, the United States published, via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property in accordance with the law, and notice to third parties of their right to petition the

Court, within sixty days from February 6, 2009, for a hearing to adjudicate the validity of any alleged

legal interest in the property. It appears from the record that no such petitions have been filed and

that the time for filing such petitions has passed.



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       Based on the Defendant’s conviction, outstanding money judgment and Preliminary Order

of Forfeiture (Substitute Property), the Court finds, in accordance with Rule 32.2(c)(2), that the

Defendant had an interest in the property that is forfeitable under the applicable statue.

       It is therefore ORDERED that:

       In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture (Substitute Property)

is confirmed as final and that all right, title, and interest in the following property, whether real,

personal, or mixed, has therefore been forfeited to the United States for disposition according to law:

               $1,005,514.82 in US Currency, which was seized from Alfredo Susi on
               November 19, 2008 at 401 W. Trade Street, Charlotte, NC.

                                                  Signed: April 17, 2009




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